Case 06-10725-gwz

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Matter No.: 083230.012700
Description of Professional Services Rendered
prepare summary chart of all fees and
expenses incurred to date and projection for
future fees (1.1); discuss same with N.
Peterman (.2).
10/18/06 Nancy A. Peterman work on analysis of payment of fees; (1.2) 1.30 708.50
telephone conference with R. Warner re
follow-up on fee analysis (.1).
10/19/06 Yolanda Powell Reviewed court docket and obtained copy 0.30 $2.50
of objection filed by the committee to
Mesirow’s first interim fee application (.2);
forwarded same to N. Peterman (.1).
10/20/06 = Nancy A. Peterman Telephone conference with R. Warner, K. 0.70 381.50
Shapiro and D. Baddley re fee analysis.
10/23/06 Nancy A. Peterman Revise fee order (.2); review recent 0.40 218.00
pleadings (.2).
10/25/06 Nancy A. Peterman Review memorandum re legal research on 3.50 1,907.50
fee issue (1.5); prepare for and meet with
R. Tuliano, K. Winford, K. Shapiro and D.
Baddley re same issues (1.0); conference
with D. Baddley re same (1.0).
10/26/06 Nancy A. Peterman Telephone conference with R. Tuliano re 0.60 327.00
fee issue (.3); exchange emails with D.
Baddley, J. Atkinson re same (.3).
10/27/06 Yolanda Powell Reviewed court docket and obtained copy 0.50 87.50
of Mesirow's first interim fee application
(.4); forwaded same to D. Baddley (.1).
10/30/06 Nancy A. Peterman Revise memo re fee issues (1.0); telephone 1.50 817.50
conferences with D. Baddley re same (.5).
Total Hours: 29.30
Total Amount: $ 14,344.00
TIMEKEEPER SUMMARY FOR ACTION CODE 813,
FEE/EMPLOYMENT APPLICATIONS
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 18.90 545.00 10,300.50
David W. Baddley 2.50 430.00 1,075.00
Collin B. Williams 2.50 285.00 712.50
George R. Warner 2.30 730.00 1,679.00
Kerry E. Carlson 2.30 190.00 437.00
Yolanda Powell 0.80 175.00 140.00
Totals: 29.30 489.56 14,344.00
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Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 825 LITIGATION CONSULTING
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
10/19/06 Nancy A. Peterman Review and comment on T. Allison 0.80 436.00
declaration in support of injunction.
Total Hours: 0.80

Total Amount: $ 436.00

TIMEKEEPER SUMMARY FOR ACTION CODE 825,
LITIGATION CONSULTING

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.80 545.00 436.00

Totals: 0.80 545.00 $ 436.00
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Invoice No.: 1868792 Page 9
Matter No.: 083230.012700
Description of Professional Services Rendered
ACTION CODE: 838 SALE OF PROPERTY
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
10/16/06 Nancy A. Peterman Review representations and warranties in 1.50 817.50
Silverpoint agreement (.6); exchange
emails with J. Atkinson re same (.5);
telephone conferences with J. Atkinson and
A. Jarvis re same (.4).
10/18/06 ~=Nancy A. Peterman Review and respond to emails re reps and 3.00 1,635.00
warranties in Silverpoint agreement (1.0);
attention to intercompany claims issues
(1.0); review and respond to various emails
re recent filings and sales/ telephone
conferences with A. Jarvis, J. Atkinson, T.
Allison, S. Smith, S. Strong re
intercompany claims (1.0).
10/18/06 David W. Schoenberg Review Asset Purchase Agreement (.8); 1.00 560.00
telephone call with N. Peterman (.2).
10/19/06 Nancy A. Peterman Review and comment on APA (1.0); 1,30 708.50
telephone conference with J. Atkinson re
same (.3).
10/19/06 Nancy A. Peterman Review various emails re APA. 1.00 545.00
10/19/06 David W. Schoenberg Review revised provision in APA (.2); 0.30 168.00
telephone call with N. Peterman (.1).
Total Hours: 8.10
Total Amount: $ 4,434.00

TIMEKEEPER SUMMARY FOR ACTION CODE 838,

SALE OF PROPERTY
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 6.80 545.00 3,706.00
David W. Schoenberg 1.30 560.00 728.00
Totals: 8.10 547.41 $ 4,434.00
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Invoice No.: 1868792 Page 10
Matter No.: 083230.012700
Description of Professional Services Rendered
TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 31.90 $45.00 17,385.50
David W. Baddley 50.80 430.00 21,844.00
Ethan F. Ostrow 12.20 225.00 2,745.00
Collin B. Williams 2.50 285.00 712.50
David W. Schoenberg 1.30 560.00 728.00
George R. Warner 5.10 730.00 3,723.00
Kerry E. Carlson 5.10 190.00 969.00
Yolanda Powell 2.30 175.00 402.50

Totals: 111.20 436.24 $ 48,509.50
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Invoice No.:

Re:

Matter No.:

1868792
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE

09/25/06

09/25/06

09/26/06

09/26/06

09/28/06

10/03/06

10/04/06

10/04/06

10/17/06

10/17/06
10/17/06
10/17/06
10/18/06
10/19/06
10/19/06
10/20/06
10/20/06
10/20/06
10/22/06
10/23/06
10/23/06
10/30/06

DESCRIPTION

VENDOR: FedEx INVOICE#: 844005982 DATE: 9/29/2006 Tracking
#799508816710; From: Nancy Peterman, Greenberg Traurig, 77 W.
Wacker, Chicago, IL 60601; To: Harry And Helen Jessup, Information
Not Supplied, 2009 Westland Dr., Las Vegas, NV 89102

VENDOR: FedEx INVOICE#: 836261700 DATE: 10/3/2006 Tracking
#799508818827; From: Mary Kendzior, Greenberg Traurig Llp, 77 West
Wacker Drive, Suite 2500Chicago, IL 60601; To: Roy R. Venturajr.p.e.,
U.s. Embassy Jakarta, JI. Medan Merdeka Selatan 4-5, Jakarta Indonesia,
10110

VENDOR: American Express INVOICE#: AETL200610 DATE:
10/11/2006 17785513320 Air/Rail Travel Peterman/Nancy A Ord-Las-
Ord- 09/27/06

VENDOR: American Express INVOICE#: AETL200610 DATE:

10/11/2006 8908132792975 Air/Rail Travel Peterman/Nancy A 00-00-07

VENDOR: Peterman, Nancy A. INVOICE#: C05100001 1372060038
DATE: 10/6/2006 TYPE: Hotel - Non Meals; REASON: Client Billable-
CHI-Bkcy-Shareholder; DATE: 09/28/06 - Hotel room

VENDOR: Base Limousine Service; INVOICE#: 7955; DATE: 10/3/2006
- Acct: GTLAW, Limousine Services from 9/5/06 to 9/29/06

VENDOR: Greenberg, Carla; INVOICE#: 31100206560; DATE:
10/4/2006 - 83230.012700 09/25/06 Cab fare home re working late on
documents.

VENDOR: Greenberg, Carla; INVOICE#: 31100206560; DATE:
10/4/2006 - 83230.012700 09/26/06 Cab fare home re working late on
documents.

VENDOR: FedEx INVOICE#: 847919497 DATE: 10/20/2006 Tracking
#79902 1302964; From: Nancy Peterman, Greenberg Traurig, 77 W.
Wacker, Chicago, IL 60601; To: Professor G. Ray Warner, St. Johns
University School O, 8000 Utopia Parkway, Jamaica, NY 11439

Copy; 176 Page(s) by 007632

Westlaw Research by BADDLEY,DAVID W.

Westlaw Research by POWELL, YOLANDA.

Westlaw Research by OSTROW,ETHAN.

Copy; 64 Page(s) by 015936

Westlaw Research by BADDLEY,DAVID W.

Telephone; 7022321609 from Ext. 5205 LAS VEGAS NV
Westlaw Research by BADDLEY,DAVID W.

Westlaw Research by OSTROW,ETHAN.

Westlaw Research by OSTROW,ETHAN.

Telephone; 9177149406 from Ext. 5205 NEW YORK NY
Westlaw Research by BADDLEY,DAVID W.

Telephone; 9177149406 from Ext. 5205 NEW YORK NY

Total Expenses:

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FFA FFH FA FHA FFA HHH HK

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AMOUNT

12.81

32.06

440.89

29.00

271.41

194.00

14.00

14.00

9.89

26.40
5.45
5.09

170.80
9.60

97.81

0.24
102.84
115.31

51.09
4.48

33.36
0.16

FA

1,640.69
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Invoice No.: 1868837 Page 1
Matter No.: 083230.012700
Description of Professional Services Rendered:
ACTION CODE: 804 CASE ADMINISTRATION
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
11/01/06 Kerry E. Carlson Update docket with recent pleadings. 0.30 57.00
11/02/06 ~—— Kerry E. Carlson Update pleadings and docket. 0.30 57.00
11/02/06 Nancy A. Peterman Review and analysis of recent pleadings. 0.20 109.00
11/03/06 — Kerry E. Carlson Update docket and pleadings (.2); report 0.30 57.00
findings to N. Peterman (.1).
11/07/06 — Kerry E. Carlson Review docket for recently filed pleadings 0.80 152.00
(.6); forward plan and related documents to
N. Peterman (.2).
11/08/06 Kerry E. Carlson Update record with amended plan and 1.00 190.00
disclosure statement (.3); route to team
members (.3); review for calendar dates
and deadlines (.4).
11/15/06 ~—— Kerry E. Carlson Update docket and pleadings (.3); forward 0.40 76.00
to N. Peterman (.1).
11/20/06 — Kerry E. Carlson Review docket and recently filed pleadings 0.30 57.00
(.2); forward same to N. Peterman (.1).
11/21/06 Kerry E. Carlson Review docket and update all recently filed 0.80 152.00
pleadings (.6); forward to N. Peterman for
further analysis (.2).
11/27/06 Yolanda Powell Pulled recently filed pleadings (.4); 0.50 87.50
forwarded same to N. Peterman (.1).
11/28/06 =Nancy A. Peterman Review and analysis of recent pleadings. 1.00 545.00
11/28/06 Yolanda Powell Pulled recently filed pleadings (.4); 0.50 87.50
forwarded same to N. Peterman (.1).
Total Hours: 6.40
Total Amount: $ 1,627.00
TIMEKEEPER SUMMARY FOR ACTION CODE 804
CASE ADMINISTRATION
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 1.20 545.00 654.00
Kerry E. Carlson 4.20 190.00 798.00
Yolanda Powell 1.00 175.00 175.00
Totals: 6.40 254.22 $ 1,627.00
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Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 810 LITIGATION MATTERS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
11/16/06 ~=Nancy A. Peterman Telephone conference with J. Atkinson re 0.70 381.50

involuntary petition issue (.3); telephone
conference with J. Atkinson, T. Allison, et
al. re involuntary petition issue (.3);
prepare email to J. Atkinson re same (.1).

Total Hours: 0.70
Total Amount: $ 381.50
TIMEKEEPER SUMMARY FOR ACTION CODE 810
LITIGATION MATTERS
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.70 545.00 381.50

Totals: 0.70 545.00 $ 381.50
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868837
083230.012700

Description of Professional Services Rendered

ACTION CODE: 812
DATE TIMEKEEPER
11/02/06 ~— David W. Baddley
11/03/06 David W. Baddley
11/05/06 ~— David W. Baddley
11/05/06 Nancy A. Peterman
11/06/06 —— David W. Baddley
11/06/06 Nancy A. Peterman
11/07/06 ~=David W. Baddley
11/07/06 David W. Baddley
11/07/06 David W. Baddley
11/07/06 Nancy A. Peterman
11/07/06 Collin B. Williams
11/08/06 David W. Baddley
11/08/06 Nancy A. Peterman

PLAN & DISCLOSURE STATEMENT

DESCRIPTION

Phone call with J. Atkinson re: disclosure
statement and plan structure.
Correspondence to S. Strong re: disclosure
statement (.4); phone calls with S. Strong
and J. Atkinson re: same (.2); follow-up
correspondence with N. Peterman re same
(.2).

Conference call with debtors' counsel and
S. Smith re plan status.

Telephone conference with A. Jarvis, S.
Strong, et al re plan and committee
revisions to same.

Review and provide comments on debtors’
plan and disclosure statement (various
drafts) (2.0); phone calls with debtors’
counsel re: same (.9).

Review and comment on draft disclosure
statement; prepare email to D. Baddley re
same (1.0); telephone call with D. Baddley
re same (.2); telephone conference with R.
Tuliano and S. Darr re case and
confirmation hearing (1.0); telephone
conference with J. Atkinson re same (.1).
Various phone calls/correspondence with
debtors’ counsel, N. Peterman, J. Atkinson
and S. Darr re: plan and disclosure
statement issues.

Worked on research of plan issues.
Review and provide comments on amended
disclosure statement and related documents.
Several telephone conferences with S.
Strong re plan and disclosure statement
revisions (1.3); conference with S. Darr re
same (1.0); several telephone conferences
with J. Atkinson re same (.8); exchange
several emails with A. Jarvis re same (.2);
review and comment on disclosure
statement summary (1.0).

Research regarding cramdown provisions
with a plan of reorganization

Review disclosure statement re:
incorporation of proposed comments.
Review and comment on revised disclosure
statement (1.1); prepare email to D.
Baddley re same (.2); telephone conference
with J. Atkinson re same (.6).

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HOURS AMOUNT
0.70 301.00
0.80 344.00
0.50 215.00
0.60 327.00
2.90 1,247.00
2.30 1,253.50
0.80 344.00
0.70 301.00
2.10 903.00
4.30 2,343.50
3.60 1,026.00
0.40 172.00
1.90 1,035.50
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Invoice No.: 1868837 Page 4
Matter No.: 083230.012700
Description of Professional Services Rendered
11/09/06 Nancy A. Peterman Telephone conference with A. Jarvis, S. 0.80 436.00
Strong, J. Atkinson, S. Smith, et al re plan
liquidation analysis.
11/11/06 = David W. Baddley Conference call with counsel for debtors, 0.70 301.00
USACM committee and direct lender
committee re: definition of pre-paid interest
(.5); draft follow-up e-mail to N. Peterman
re: same (.2).
11/11/06 Nancy A. Peterman Review draft disclosure statement. 0.20 109.00
11/12/06 David W. Baddley Review and provide comments to debtors’ 1.80 774.00
counsel on revised plan and disclosure
statement.
11/13/06 = David W. Baddley Review amended plan and disclosure 1.40 602.00
statement (1.0); phone call to S. Strong re:
comments/questions re: same (.4).
11/14/06 David W. Baddley Review correspondence re: disclosure 0.70 301.00
statement hearing (.3); review revised plan
and disclosure statement (.4).
11/14/06 = Nancy A. Peterman Exchange emails with J. Atkinson re 2.80 1,526.00
disclosure statement and plan (.5);
telephone conference with S. Strong re
same (.5); telephone conference with D.
Baddley re same (.2); prepare email to R.
Tuliano and C. Winford re status and
approval of disclosure statement (.3);
review and analysis of hypotheticals to
include in disclosure statement to illustrate
pre-paid interest issue (.8); telephone
conference with S. Darr re status (.5).
Total Hours: 30.00
Total Amount: $ 13,861.50
TIMEKEEPER SUMMARY FOR ACTION CODE 812
PLAN & DISCLOSURE STATEMENT
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 12.90 545.00 7,030.50
David W. Baddley 13.50 430.00 5,805.00
Collin B. Williams 3.60 285.00 1,026.00
Totals: 30.00 462.05 $ 13,861.50
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Matter No.:

1868837
083230.012700

Description of Professional Services Rendered

ACTION CODE: 813

DATE

11/01/06

11/02/06
11/03/06
11/14/06
11/16/06
11/19/06
11/20/06

11/27/06

11/28/06

TIMEKEEPER

Kerry E. Carlson

Kerry E. Carlson
Kerry E. Carlson
Nancy A. Peterman
Nancy A. Peterman
Nancy A. Peterman
Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman

FEE/EMPLOYMENT APPLICATIONS

DESCRIPTION

Review order authorizing continued
Mesirow retention and forward to N.
Peterman.

Research transcript procedures and request
fee hearing transcript.

Follow up on transcript request.

Review correspondence from USACM
committee objecting to certain expenses for
MFIM.

Review and analysis of objection by UST
to monthly fee application of MFIM.
Review UST objections to MFIM fee
statement.

Telephone conference with J. Atkinson re
fee objections, etc.

Review fee order (.4); telephone conference
with J. Atkinson re case status, fee issues,
etc. (.5).

Exchange emails with S. Smith re fee
objections.

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Total Hours:

Page 5
HOURS AMOUNT

0.20 38.00
0.20 38.00
0.20 38.00
0.20 109.00
0.40 218.00
0.10 54.50
0.40 218.00
0.90 490.50
0.90 490.50
3.50

Total Amount: $ 1,694.50

TIMEKEEPER SUMMARY FOR ACTION CODE 813

FEE/EMPLOYMENT APPLICATIONS

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 2.90 545.00 1,580.50
Kerry E. Carlson 0.60 190.00 114.00

Totals: 3.50 484.14 $ 1,694.50
